8:03-cr-00362-JFB-TDT              Doc # 112   Filed: 12/21/06     Page 1 of 1 - Page ID # 333



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )            Case No. 8:03CR362
                                               )
                      Plaintiff,               )
                                               )
       v.                                      )                     ORDER
                                               )
CESAR ESQUEDA-SANCHEZ,                         )
                                               )
                      Defendant.               )


       This matter comes on to consider the government’s request to schedule a Rule 35 hearing
in the above case. Having considered the matter,
       IT IS ORDERED that:
       1.   A hearing on the government’s motion is scheduled before the undersigned United
States district judge on January 2, 2007, at 2:45 p.m. in Courtroom No. 3, Roman L. Hruska U.S.
Courthouse, 111 South 18th Plaza, Omaha, Nebraska.
       2. Counsel for the defendant, if previously appointed pursuant to the Criminal Justice Act,
is reappointed to represent the defendant for purposes of the Rule 35(b) motion. If retained,
counsel for the defendant remains as counsel for the defendant until the Rule 35(b) motion is
resolved or until given leave to withdraw.
       3. The Federal Public Defender shall provide CJA counsel with a new voucher.
       4. The Clerk of the Court shall electronically serve a copy of this order on counsel for the
government, counsel for the defendant, and the Federal Public Defender.
       5. The Marshal is directed to keep the defendant in the district for this hearing.
       DATED this 21st day of December, 2006

                                               BY THE COURT:


                                                s/Joseph F. Bataillon
                                               JOSEPH F. BATAILLON
                                               United States District Judge
